                    UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MASSACHUSETTS


DAMILARE SONOIKI,

             Plaintiff,
                                    Civil Action No. 1:19-cv-12172
     v.

HARVARD UNIVERSITY, HARVARD
UNIVERSITY BOARD OF OVERSEERS,      Leave to file granted on January 24, 2020
and THE PRESIDENT AND FELLOWS OF
HARVARD COLLEGE,

             Defendants.


 DEFENDANTS’ REPLY MEMORANDUM IN SUPPORT OF THEIR MOTION TO
                    DISMISS THE COMPLAINT
                                        INTRODUCTION

       Plaintiff principally contends that Harvard failed to provide him the procedures it

promised him by contract. But he fails to identify even a single contract provision that supports

any of these alleged promises. Instead, his opposition is an exercise in misdirection—he invents

contractual promises foreclosed by actual contract provisions and asserts nonexistent promises

he purports to derive from contractual silence. Plaintiff’s contract argument fails. So too does

his argument that the procedures he was promised and received violated the “basic fairness”

Massachusetts law requires—a contention foreclosed by the numerous cases Harvard cited in its

opening brief, without response from Plaintiff, that uphold procedures substantially less robust

than those afforded here. The motion to dismiss should be granted, with prejudice.

       A.      Plaintiff’s Contract Claim Fails.

       1. Plaintiff’s principal argument is that while he was credibly accused before graduation

of sexual assault by several different women, Harvard was required to issue him a degree

because it did not have sufficient time to investigate the complaints before graduation. Opp. 5-9.

Plaintiff arrives at that conclusion by negative inference from a Handbook provision that says

“[a] degree will not be granted to a student . . . against whom a disciplinary charge is pending.”

Compl. Ex. 2 at 5. But Plaintiff’s logical error is obvious. While Harvard provides that a

“degree will not be granted to a student . . . against whom a disciplinary charge is pending,” it

does not follow from this that a degree must be granted to all other students, even when new

complaints of sexual misconduct are pending against them. Harvard made note of this logical

fallacy in its opening brief, and Plaintiff has not answered it.

       Plaintiff instead opts to answer only Harvard’s second, independent, argument, which is

that the student information form makes clear that “[a] student cannot receive a degree before a

pending disciplinary case”—which “begins with an allegation of student misconduct in the form

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of a complaint or report”—“is resolved.” Compl. Ex. 3 at 1, 7 (first emphasis added). Plaintiff’s

response is that the student information form is not part of his contract. But that is wrong:

student-university contracts include “the Student Handbook and other college materials.” Bleiler

v. Coll. of Holy Cross, 2013 WL 4714340, at *14 (D. Mass. Aug. 26, 2013). Indeed, Plaintiff

himself attached the student information form and other materials to his Complaint and relies on

them in support of his contract claims. See, e.g., Compl. ¶ 378 (“[Plaintiff] enrolled at Harvard

with the understanding and reasonable expectation that Harvard would enforce the provisions

and policies in Harvard’s official publications, including the Handbook . . . , as well as all other

official documents”); see also Compl. Exs. 3-8.

         Regardless, Plaintiff’s argument is meritless. He says that a conflict between the

Handbook and the student information form should be resolved in favor of the Handbook or,

failing that, the conflict creates an ambiguity that cannot be resolved on the pleadings. But there

is no conflict. The Handbook and student information form are perfectly consistent: the

Handbook does not require Harvard to issue a degree to a student against whom an as-yet

uninvestigated complaint is pending, and the student information form confirms that Harvard

will not do so. Plaintiff’s principal argument is plainly wrong and should be dismissed. 1

         2. Plaintiff’s next argument is that the contract is unenforceable because it is

impermissibly vague in two material respects, and violative of federal law in another. Opp. 9-12,

16-17. As explained below and in Harvard’s opening brief, this argument is meritless.




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  Plaintiff also suggests that withholding his degree was inconsistent with Harvard’s pedagogical model of discipline
and its presumption that “except in the rarest of circumstances, students involved in disciplinary cases ultimately
will graduate from Harvard.” Opp. 5-6 (emphasis omitted) (quoting Compl. Ex. 4 at 1). But the Handbook is
crystal clear that one of the rare circumstances in which a student is not entitled to a degree is when he is found to
have committed sexual misconduct. See Compl. Ex. 1 at 10; Compl. Ex. 2 at 7. Plaintiff’s view would require
issuing a degree to that student because of a timing quirk. Nothing in the contract requires that nonsensical result.

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       Plaintiff first asserts that Harvard’s “sufficiently persuaded” standard of review is

unintelligible. Opp. 10; see Compl. Ex. 4 at 2. But he does not offer any actual argument for

why that standard is particularly difficult to understand. As Harvard explained, it is analogous to

a preponderance of evidence standard. Plaintiff accuses Harvard of contradicting itself by citing

the preponderance standard as an analogue, but there is no contradiction—the fact that Harvard

wanted to avoid legalese in a pedagogical setting does not mean there is any material difference

between a preponderance and “sufficiently persuaded” standard. And in any event, that is the

standard that Harvard promised Plaintiff it would apply, and that it in fact applied.

       Plaintiff next argues that Harvard’s definition of “sexual misconduct” is unenforceably

vague. Opp. 11-12. As the opening brief explained, the suggestion that a reasonable student

would not know that the sexual assaults of which Plaintiff was accused and found to have

committed fall within that policy is frivolous and should be summarily rejected. Mot. 19-20.

       Plaintiff also argues that the Handbook violates the Clery Act by failing to allow him to

hire counsel. Opp. 16-17. That is simply wrong: the Handbook affirmatively encourages him to

do so. Compl. Ex. 3 at 2-3. And in any event, Plaintiff admits that he is not suing under the

Clery Act but under the contract. Whether or not Harvard’s procedures violated the Clery Act

(which they do not) “would have no bearing on Plaintiff’s pending contractual and quasi-

contractual claims.” Doe v. Univ. of the S., 687 F. Supp. 2d 744, 757-58 (E.D. Tenn. 2009).

       3. Plaintiff’s opposition (like his Complaint) also includes a laundry list of his

“reasonable expectations” that Harvard allegedly violated. As Harvard’s opening brief

explained, Harvard promised its students robust procedures that balanced the students’ rights

while accounting for its pedagogical objectives consistent with Massachusetts law. Mot. 12, 17-




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19. And the Complaint and incorporated documents make clear that Plaintiff received the

precise procedures he was promised. Mot. 9-17. Plaintiff’s contrary contentions are incorrect.

       First, Plaintiff argues that Harvard violated his expectations by accepting untimely

complaints and by taking longer than six weeks to complete the investigatory process. But

Harvard’s documents do not impose any strict time limit on sexual misconduct complaints or

investigations. Rather, Harvard’s documents state that “[c]omplaints must ordinarily be brought

to the College in a timely manner” without defining “timely,” and that proceedings will

“ordinarily” be completed in six weeks. Compl. Ex. 2 at 4; Compl. Ex. 3 at 1. But Plaintiff

points to no provision that renders the serious sexual misconduct complaints here untimely, and

the word “ordinarily” in any event makes clear neither “timely” complaints nor six-week

proceedings are required in every instance. Harvard did not break any timing-related promises.

See Doe v. Brown Univ., 327 F. Supp. 3d 397, 417 (D.R.I. 2018) (no breach where proceedings

took longer than specified but the handbook provided for exceptions).

       Second, Plaintiff asserts that the Handbook is silent with respect to two of the procedures

Harvard employed—i.e., the Subcommittee’s inclusion of credibility determinations in the

disciplinary case reports and the Ad Board Chair’s filing of a response to his appeal—and so is at

least ambiguous as to whether those procedures violated Plaintiff’s reasonable expectations.

       Plaintiff’s argument is both wrong and irrelevant. It is wrong because the contract is

clear on both these points: (1) As Plaintiff ultimately concedes (see Opp. 14), the appeal process

chart states that the Ad Board Chair will respond to appeals, (Compl. Ex. 7 at 1); and (2) the

student information form designates the Subcommittee as the primary observer of witnesses,

putting any reasonable reader on notice that it might assess credibility (Compl. Ex. 3 at 4-5).

The argument is irrelevant because a student cannot possibly develop a reasonable expectation



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that he will receive a particular procedure based on contract silence. He must instead identify a

provision that plausibly gives rise to such an expectation. That is why courts have routinely

rejected breach of contract claims where the student fails to identify any provision in the

“Handbook []or related documents” that “create[s] obligations that are in conflict with the

College’s actions.” Bleiler, 2013 WL 4714340, at *15; accord Schaer v. Brandeis Univ., 735

N.E.2d 373, 378-81 (Mass. 2000).

       Third, Plaintiff contends that Harvard broke a promise to afford him a Board

Representative who would advocate for him and with whom he would enjoy a confidential

relationship. No Handbook provision promised Plaintiff any such thing. The statements he cites

that encourage students to be honest and open with their Board Representatives, e.g., Compl. Ex.

3 at 3, do not promise confidentiality. Indeed, as Harvard explained, without rebuttal by

Plaintiff, when the Handbook intended for a relationship or a proceeding to be confidential, it

said so explicitly. Mot. 14-15. Plaintiff’s asserted expectation of confidentiality and advocacy is

especially implausible because the Handbook expressly provides that the Board Representative

“is an officer of the College” who “will not advocate for you.” Compl. Ex. 3 at 3. Plaintiff says

(Opp. 13) that assertion is inconsistent with other statements—e.g., that the Board Representative

“will make certain that your perspective is clearly presented”—but there is no inconsistency: the

Board Representative is a reporter, not an advocate.

       Fourth, Plaintiff contends that Harvard neglected in its motion to address his allegation

that Harvard broke a promise to share with him the identities of adverse student witnesses. Even

if this allegation were true, which it is not, it was embedded in a laundry list of procedures that

Plaintiff described collectively as Harvard’s “failure to provide fundamental fairness.” Compl.

¶ 402. Harvard addressed them all by explaining why Plaintiff’s proceeding was fundamentally



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fair. To the extent Plaintiff now claims that this was an independent contractual promise, he has

never identified a Handbook provision that could be read to make that promise. Moreover, he

admits that he did know of the identity of witnesses against him, Compl. ¶¶ 316-17, and does not

dispute that he was informed of the factual allegations in detail.

       Fifth, Plaintiff asserts that his disciplinary proceeding was infected with bias in violation

of Harvard’s promise to provide him a non-biased hearing. But as Harvard’s opening brief

explained, “a presumption of impartiality favors [school] administrators,” and the burden is on

Plaintiff “to produce evidence to rebut this presumption.” Doe v. Trs. of Bos. Coll. (Doe I), 892

F.3d 67, 84 (1st Cir. 2018) (quotation and other marks omitted). Plaintiff attempts to overcome

that presumption in three ways, but none succeeds.

   •   He cites articles opining generally about flaws in Title IX proceedings and the criminal
       justice system writ large. See Opp. 16; Compl. ¶¶ 39-42. None of these provides
       grounds for inferring race-based discrimination in these specific proceedings. See Doe v.
       Amherst Coll., 238 F. Supp. 3d 195, 218-19 (D. Mass. 2017) (court could not “plausibly
       infer race-based discrimination” in a particular proceeding based on report cautioning
       generally against discrimination in Title IX proceedings).

   •   He alleges that the Ad Board lacked black male members. Plaintiff is very careful to
       avoid alleging that the Ad Board lacked black women. See Opp. Ex. 1. Regardless,
       assuming that a university body is motivated by racial bias because of its composition is
       precisely the kind of “tenuous inference[]” that cannot support a finding of prejudice.
       Doe I, 892 F.3d at 84.

   •   He claims that the Ad Board Secretary impermissibly both solicited the complaints and
       voted in Plaintiff’s case. Even taking these allegations as true, Harvard’s procedures
       contemplate the dual role of the Secretary in receiving complaints and casting a vote. See
       Compl. Ex. 3 at 2. Moreover, the First Circuit has made clear that “contentions that [an
       administrator’s] various roles or ‘multiple-hats’ are evidence of bias and undue influence
       . . . ‘assumes too much.’” Gorman v. Univ. of R.I., 837 F.2d 7, 15 (1st Cir. 1988).

For all of these reasons, the presumption of impartiality may not be overturned here.

       B.      Harvard Provided Plaintiff With “Basic Fairness.”

       No Massachusetts court has ever found that the procedures Plaintiff lists (see, e.g., Opp.

18-19) are necessary for “basic fairness” under Massachusetts law. And as Harvard’s opening

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brief shows, there are numerous cases where Massachusetts courts have sanctioned proceedings

with far fewer procedural protections. Mot. 17-19. Plaintiff conspicuously does not even

mention those Massachusetts cases. Those cases, moreover, were recently adopted by Doe v.

Trs. of Bos. Coll. (Doe II), 942 F.3d 527, 533-34 (1st Cir. 2019), in which the First Circuit

reiterated that federal courts must “take care not to extend state law beyond its well-marked

boundaries in an area . . . that is quintessentially the province of state courts,” including the

scope of the “basic fairness” requirement. Id. at 534 (quotation omitted). Plaintiff’s attempt to

limit Doe II to its precise facts ignores that the First Circuit’s rationale—which squarely

addressed this same argument about the limited nature of the “basic fairness” doctrine under

existing Massachusetts law—plainly precludes his claim.

       Plaintiff also cites several district court cases that are inapposite because they found

proceedings unfair for reasons different than those Plaintiff advances here. See, e.g., Doe v.

Brandeis Univ., 177 F. Supp. 3d 561, 604-07 (D. Mass. 2016) (unfair based on a totality of

factors including that the accused never received notice of the conduct giving rise to the charge

and had no ability to review evidence, access the examiner’s report, or submit evidence);

Amherst Coll., 238 F. Supp. 3d at 217 (unfair because investigator did not investigate potentially

exculpatory evidence). In short, Plaintiff cites no case remotely suggesting that allegations like

those asserted here validly state a claim that the totality of the robust procedures Harvard

provided to Plaintiff violate basic fairness.

                                          CONCLUSION

       The Complaint should be dismissed with prejudice.




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Dated: February 4, 2020   Respectfully submitted,



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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

and paper copies will be sent to those indicated as non-registered participants on February 4,

2020.

                                                   /s/ Anton Metlitsky
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